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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                              FORT MYERS DIVISION


EUGENIA II INVESTMENT
HOLDINGS LIMITED (BVI),

             Plaintiff,

v.                                            Case No. 2:20-cv-843-JLB-NPM

ANTHONY BELISLE,

             Defendant.



 Judge:          Nicholas P. Mizell      Counsel for   Andrew T. Solomon
                                         Plaintiff     John Edwin Fisher
 Deputy          Wendy Winkel            Counsel for   Joan A. Lukey
 Clerk:                                  Defendant:    Justin J. Wolosz
 Court           Digital                 Interpreter
 Reporter
 Date/Time       March 16, 2021          Total Time    5 minutes
                 10:45 AM


Court discussed case management and scheduling deadlines and other
issues regarding case management.

Court reminded Counsel to consult and follow the provisions of the
forthcoming CMSO, the Court’s Discovery Manual and CM/ECF
administrative procedures and the District Judge’s policies and
preferences, all of which are available on the Court’s website.

Scheduling Order to issue.
